 Case 2:11-cr-00434-RFB-PAL      Document 350      Filed 12/26/12    Page 1 of 2




 1   GABRIEL L. GRASSO, ESQ.
     Nevada Bar Number 7358
 2   GABRIEL L. GRASSO, P.C.
 3   231 South Third Street, Suite 100
     Las Vegas, Nevada 89101
 4   (702) 868-8866
     Attorney for EVGENY KRYLOV
 5
 6                          UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,        )
 8                                    )
 9                   Plaintiff,       )
                                      )            Case No.:    2:11-cr-00434-LDG-PAL
10   v.                               )
                                      )
11   [6] EVGENY KRYLOV; [15] MICHAEL )
12   VALES; et al.,                   )
                                      )
13                   Defendants.      )
     ________________________________ )
14
15                     JOINDER TO DEFENDANT MICHAEL VALES’S
                             MOTION TO CONTINUE TRIAL
16
17         Defendant EVGENY KRYLOV, by and through his attorney, Gabriel L. Grasso,

18   hereby joins in Co-Defendant Michael Vales’s MOTION TO CONTINUE TRIAL in the
     above-styled matter.
19
20
           DATED this 6th day of December, 2012.
21
22
23                                                               /s/
                                                   GABRIEL L. GRASSO, ESQ.
24                                                 Nevada Bar Number 7358
                                                   GABRIEL L. GRASSO, P.C.
25
                                                   231 South Third Street, Suite 100
26                                                 Las Vegas, Nevada 89101
                                                   (702) 868-8866
27                                                 Attorney for Evgeny Krylov
28
 Case 2:11-cr-00434-RFB-PAL         Document 350      Filed 12/26/12     Page 2 of 2




 1                       SUPPLEMENTAL POINTS AND AUTHORITIES
 2         Defendant Evgeny Krylov hereby adopts the points and authorities submitted by
 3   co-defendant Michael Vales, and submits the following to supplement that argument.
 4         1.       Discovery in this case consists of at least 8 CD’s. According to Bates
 5   Stamps there are over 20,000 pages of discovery. Based upon the CJA guidelines if 1

 6   minute per page for discovery review, the amount of discovery in this case would
     amount to over 330 hours, which translates into over two months of 40-hour weeks.
 7
           2.       Due to undersigned counsel’s federal trial schedule, and involvement in
 8
     other large discovery laden federal cases such as US V. HEATHER DALE, 2:12-cr-
 9
     00083-MMD-GWF (known as the “Carder-su” prosecution), US v STEVE YOST 2:11-
10
     cr-00396-MMD-PAL, US v. MELISSA HACK 2:12-cr-00063-PMP-RJJ (Federal Death
11   Penalty), and US v. MARK HANSEN 2:12-cr-00400 MMD-GWF, the discovery review in
12   this case has not been completed.
13         3.       Undersigned counsel is enrolled to take the California Bar Exam on
14   February 26 through 28, 2013. Preparation for this bar exam will take place during

15   January and February of 2013. The current trial date and the expected length of this
     trial will severely hamper counsel’s preparation and will most likely require the loss of
16
     the application fee and the resetting of the exam for July, 2013.
17
           4.       EVGENY KRYLOV is in pretrial detention and does not object to this
18
     continuance.
19
                    DATED this 6th day of December, 2012.
20
21
22                                                                 /s/
                                                     GABRIEL L. GRASSO, ESQ.
23                      ORDER                        Nevada Bar Number 7358
24                                                   GABRIEL L. GRASSO, P.C.
     IT IS SO ORDERED.                               231 South Third Street, Suite 100
25                                                   Las Vegas, Nevada 89101
     DATED this ____ day of December, 2012.          (702) 868-8866
26                                                   Attorney for Evgeny Krylov
27
28              _____________________________
                         Lloyd D. George
                     Sr. U.S. District Judge
